                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

                            Plaintiff,
                vs.                                Case No.

SARAH HANNAH and

LA MAISON INVESTMENT, LLC,

                         Defendants.

                                          COMPLAINT

        The United States of America (“United States”), for its complaint against Defendants

 Sarah Hannah and La Maison Investment, LLC (“Defendants”), alleges as follows:

                                     NATURE OF ACTION

        1.      This is an action brought by the United States to enforce the Fair Housing Act of

 1968, as amended by the Fair Housing Amendments Act of 1988, 42 U.S.C. § 3601, et seq.

 (“Fair Housing Act” or “Act”).

        2.      The United States brings this action for injunctive relief and monetary damages

 on behalf of Taci Adkins, pursuant to 42 U.S.C. § 3612(o).

        3.      The United States alleges that Defendants discriminated in the rental of a dwelling

 because of Ms. Adkins’ disability 1 by refusing to make a reasonable accommodation in rules,

 policies, practices or services, when such accommodation was necessary to afford her equal

 opportunity to use and enjoy a dwelling, in violation of the Fair Housing Act, 42 U.S.C.

 § 3604(f)(2)(A) and (f)(3)(B). The United States further alleges that Defendants coerced,




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   The Fair Housing Act uses the term “handicap,” see 42 U.S.C. § 3602(h), but consistent with
 modern usage, the government uses the term “disability” in this Complaint, and such usage is
 intended to cover the term “handicap” as used in the Act.


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intimidated, threatened or interfered with Ms. Adkins in the exercise or enjoyment of, or on

account of her having exercised or enjoyed, rights granted or protected by 42 U.S.C. § 3604, in

violation of 42 U.S.C. § 3617.

                                     JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and

1345 and 42 U.S.C. § 3612(o).

       5.      Venue is proper in the Western District of Missouri pursuant to 28 U.S.C. § 1391

and 42 U.S.C. § 3612(o), and in the Western Division thereof, because the alleged discrimination

occurred there and the dwelling at issue is located there.

                                             PARTIES

       6.      Plaintiff is the United States.

       7.      Defendant Sarah Hannah is an individual, and is, and at relevant times herein was,

the owner and property manager of a four-unit residential complex at 700 N.E. 68th Street,

Gladstone, Missouri (“the Subject Property”). She also is, and at all relevant times herein was,

the sole incorporating organizer and agent for Defendant La Maison Investment, LLC.

       8.      Defendant La Maison Investment, LLC is a Missouri corporation and is, and at

relevant times herein was, the property management company for the Subject Property.

                            FACTS AND PROCEDURAL BACKGROUND

       9.      Ms. Adkins is an “aggrieved person” as defined in 42 U.S.C. § 3602(i).

       10.     Ms. Adkins has mental health disabilities within the meaning of 42 U.S.C

§ 3602(h) that substantially limit one or more of her major life activities. She has sought and

receives professional treatment for her disabilities.




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       11.     From approximately July 2020 through June 2021, Ms. Adkins resided in a unit

within the Subject Property. The Subject Property is a “dwelling,” as defined by 42 U.S.C.

§ 3602(b).

       12.     On June 8, 2020, Ms. Adkins submitted an online lease application for a unit

in the Subject Property, which was then owned by Term, LLC and managed by Term’s

property manager, “J.B.”

       13.     On July 10, 2020, Ms. Adkins completed a lease agreement that included a

provision she initialed forbidding any pets, but told J.B. that she had a four-pound Miniature

Pinscher mix named Rillo as an emotional assistance animal.

       14.     On August 1, 2020, Ms. Adkins provided J.B. a letter from her physician

asking that Ms. Adkins’s dog be allowed to live with her “for a medical reason as an

emotional support animal.” After acknowledging receipt of the physician’s letter, and adding

it to Complainant’s tenant file, J.B. granted Ms. Adkins’ reasonable accommodation request,

allowing Ms. Adkins to have Rillo live with her at the Subject Property.

       15.     Ms. Adkins thereafter had Rillo reside with her at the Subject Property

without issue during the remaining course of Term, LLC’s ownership.

       16.     On August 31, 2020, Defendant Hannah purchased the Subject Property and

assumed Ms. Adkins’s lease from Term, LLC. In addition to owning the Subject Property,

Defendant Hannah managed it as an agent for Defendant La Maison Investment, LLC.

       17.     On September 7, 2020, Defendant Hannah texted her new tenants, including

Ms. Adkins, a new landlord introduction that stated, in part, “[y]our current lease and all

payment terms will remain in full force . . .”




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          18.   On September 25, 2020, Defendant Hannah posted a Notice of Lease

Violation on Ms. Adkins’s door accusing her of keeping a pet dog on the premises in

violation of her lease and removing a “No Pets Allowed” sign from the front of her building.

In the Notice, Defendants gave Ms. Adkins until September 28, 2020, to correct these alleged

violations, asserting they were grounds for termination of Ms. Adkins’s lease.

          19.   On the next day, September 26, 2020, in response to the Notice of Lease

Violation, Ms. Adkins texted Defendant Hannah a photo of her doctor’s letter that she had

previously provided to J.B., denied the accusation that she removed a sign, and stated that her

dog was a “service animal.”

          20.   In a telephone conversation on September 28, 2020, Ms. Adkins told

Defendant Hannah that the previous property manager, J.B., had approved her assistance

animal.

          21.   Numerous times in September and December 2020, Ms. Adkins exchanged

texts with Defendant Hannah in which Ms. Adkins again asserted that her dog was an

assistance animal, and that she had a right to keep the animal at the Subject Property pursuant

to law.

          22.   In December 2020, Defendant Hannah repeatedly denied Ms. Adkins’

reasonable accommodation request.

          23.   On or around December 9,, 2020, Defendant Hannah sent Ms. Adkins a text

stating, in part, “. . .I need to know if you got rid of the dog. Or not. Because the Owners

told me to tell you. ‛Either the dog go or you go with him. [sic]’”

          24.   In a letter from Defendant Hannah dated December 9, 2020, Defendant stated,

“Next, your dog. I do not want to debate this with you or incur further costs from my very



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expensive lawyer that you will ultimately have to pay for, but you do not have a service dog

and even if you did, service dogs are not federally mandated in residential dwellings of four

units or less (Please see the Fair Housing Act of 1988) as a result, please abide by your lease

and remove your dog or I will have no choice but to deem its continued presence a violation

of the lease and have you evicted.” In fact, the Subject Property is covered by the Fair

Housing Act.

       25.     On or around December 12, 2020, Defendant Hannah sent Ms. Adkins a text

stating, in part, “. . .Your act by having a dog will let other tenant [sic] want to have pets as

well. And will create issues for us. Rules must be followed by all tenants, they are all equal

and no one gets a special treatment.”

       26.     On or around December 19, 2020, and again on December 23, 2020,

Defendant Hannah texted Ms. Adkins an ultimatum: “GET [r]id of the dog, or I will evict

you[.] [C]hoices are yours.”

       27.     Despite Ms. Adkins’s multiple requests that she be allowed to keep her

assistance animal, Defendant Hannah refused to grant a reasonable accommodation.

       28.     On or about January 8, 2021, Ms. Adkins filed a fair housing complaint

against Defendant Hannah with the United States Department of Housing and Urban

Development (“HUD”). On or about January 15, 2021, HUD notified Defendant Hannah of

the complaint and began the investigation. On or about February 3, 2021, the complaint was

amended to add Defendant La Maison Investment, LLC as a Respondent.

       29.     During this time, the parties also had an ongoing dispute about the rent

payments for December 2020 and January 2021, as Defendants alleged they did not receive




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the checks Ms. Adkins had mailed. On January 11, 2021, Defendants filed a rent and

possession suit against Ms. Adkins.

       30.     In a letter dated May 4, 2021, Defendant Hannah, without providing a reason,

informed Ms. Adkins that she was not renewing her lease, and stated that Ms. Adkins needed

to leave the subject property by June 9, 2021.

       31.     Defendant Hannah’s decision not to renew Ms. Adkins’ lease was motivated

in part by Ms. Adkins’ having asserted her right to have her emotional assistance animal live

with her at the Subject Property and in part by Ms. Adkins’ having filed a HUD complaint.

       32.     Ms. Adkins had wished and intended to continue residing at the Subject

Property, but moved out on or around June 27, 2021, because of the lease non-renewal

notice. On September 7, 2021, the court issued an order in favor of Defendants for unpaid

rent and late charges.

       33.     As required by the Fair Housing Act, 42 U.S.C. § 3610(a) and (b), the Secretary

of HUD conducted an investigation of the complaint made by Ms. Adkins, attempted

conciliation without success, and prepared a final investigative report.

       34.     Based on the information gathered in the investigation, the Secretary of HUD,

pursuant to 42 U.S.C. § 3610(g), determined that reasonable cause exists to believe that illegal

discriminatory housing practices occurred.

       35.     On October 12, 2022, the Secretary of HUD issued a Determination of

Reasonable Cause and Charge of Discrimination pursuant to 42 U.S.C. § 3610(g), charging

Defendants with discrimination under the Fair Housing Act.




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       36.      On October 25, 2022, the Defendants elected to have the claims asserted in

HUD’s Charge of Discrimination resolved in a federal civil action pursuant to 42 U.S.C.

§ 3612(a).

       37.      On October 31, 2022, a HUD Administrative Law Judge issued a Notice of

Election and terminated the administrative proceedings on the HUD complaint filed by Ms.

Adkins. Following the Notice of Election, the Secretary of HUD authorized the Attorney

General to commence a civil action pursuant to 42 U.S.C. § 3612(o).

                              FAIR HOUSING ACT VIOLATIONS

                        COUNT I (Sections 3604(f)(2) and 3604(f)(3)(B))

       38.      The United States incorporates the allegations contained in paragraphs 1 through

37 above as if fully set forth herein.

       39.      Defendants violated 42 U.S.C. § 3604 (f)(2)(A) and (f)(3)(B) by refusing to grant

Ms. Adkins’ request for her assistance animal, when such accommodation was reasonable and

was necessary to afford her an equal opportunity to use and enjoy the dwelling.

                                     COUNT II (Section 3617)

       40.      The United States incorporates the allegations contained in paragraphs 1 through

37 above as if fully set forth herein.

       41.      Defendants violated 42 U.S.C. § 3617 by coercing, intimidating, threatening, or

interfering with Ms. Adkins in her exercise or enjoyment of rights granted or protected 42 U.S.C.

§§ 3603-3606.

       42.      Ms. Adkins has suffered actual damages, including out-of-pocket expenses,

inconvenience, and emotional distress. She also experienced loss of sleep, nightmares, weight

loss, and headaches as a result of Defendants’ discriminatory actions.



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       43.     Defendants’ discriminatory actions were intentional, willful, and taken in

disregard of the rights of Ms. Adkins.

                                   REQUEST FOR RELIEF

WHEREFORE, the United States requests that this Court:

       1.      Declare that Defendants’ discriminatory housing practices as set forth above

violate the Fair Housing Act;

       2.      Enjoin and restrain Defendants, their officers, employees, agents, successors, and

all other persons or corporations in active concert or participation with Defendants, from:

               A.     Discriminating against any person in the terms, conditions, or privileges of

                      sale or rental of a dwelling, or in the provision of services or facilities in

                      connection with such dwelling, because of disability, in violation of 42

                      U.S.C. § 3604(f)(2)(A);

               B.     Refusing to make reasonable accommodations in rules, policies, practices,

                      or services, when such accommodations may be necessary to afford a person

                      with a disability equal opportunity to use and enjoy a dwelling, in violation

                      of 42 U.S.C. § 3604(f)(3)(B); and

               C.     Coercing, intimidating, threatening or interfering with any person in the

                      exercise or enjoyment of, or on account of his or her having exercised or

                      enjoyed, or on account of his or her having aided or encouraged any other

                      person in the exercise or enjoyment of any right granted or protected by

                      the Fair Housing Act, in violation of 42 U.S.C. § 3617.




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       3.      Order Defendants to take such affirmative steps as may be necessary to restore, as

nearly as practicable, Ms. Adkins to the position she would have been in but for the

discriminatory conduct;

       4.      Order Defendants to take such actions as may be necessary to prevent the

recurrence of any discriminatory conduct in the future and to eliminate, to the extent practicable,

the effects of their unlawful conduct, including implementing policies and procedures to ensure

that no applicants or residents are discriminated against because of disability;

       5.      Award monetary damages to Ms. Adkins pursuant to 42 U.S.C. §§ 3612(o)(3) and

3613(c)(1); and

       6.      Order such additional relief as the interests of justice require.


                                                       Respectfully submitted,

                                                       Teresa A. Moore
                                                       United States Attorney


                                              By        /s/ Charles M. Thomas
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